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    Petition12C – Rev. 6/18


                                         UNITED STATES DISTRICT COURT
                                                                                                                  FILED            LODGED
                                                           for                                                   Apr 19, 2022
                                                         Arizona                                                  CLERK U.S. DISTRICT COURT
                                                                                                                     DISTRICT OF ARIZONA




                                   Petition for Warrant to Revoke Supervised Release
                                                                                                T-SEALED
Name of Offender:                    James Lamar Ford, Jr               Case No.: 18-CR-00261-001-TUC-CKJ (LAB)

Name of Judicial Officer:            The Honorable Cindy K. Jorgenson
                                     Senior United States District Judge


Date of Original Sentence:           11/28/2018

Original Offense:                    Instant Offense: Felon in Possession of Firearms and Ammunition, 18, U.S.C.,
                                     §922(g)(1) and 18, U.S.C., §924(a)(2), a Class C Felony

Original Sentence:                   24 months Bureau of Prisons, 36 months supervised release

Type of Supervision:                 Supervised Release            Date Supervision Commenced: 8/21/2020
                                                                   Date Supervision Expires: 8/20/2023


Assistant U.S. Attorney:             Shelley Clemens               Defense Attorney: Steven Donald West
                                     520-620-7340                                    520-623-4387

                              Petitioning the Court to issue a Warrant to Revoke Supervised Release

    The probation officer alleges James Lamar Ford, Jr has violated the following condition(s) of supervision:

        Allegation            Nature of Noncompliance

              A               Mandatory Condition #1 which states, “You must not commit another federal, state or
                              local crime.”

                                 1) On or about April 14, 2022, Ford Jr. committed another crime: Arizona Revised
                                    Statutes (A.R.S.) §13-1204A2/13-3601 (Domestic Violence/Aggravated Assault
                                    with Deadly Weapon), a Class 3 Felony. Violation outlined in Tucson Police
                                    Interim Complaint number 2204140001. A Grade B violation §7B1.1(a)(2). Per
                                    U.S.S.G. 7B1.1, Note 1, violation based on the actual conduct, not a new criminal
                                    charge or conviction. Revocation is mandatory. 18 U.S.C. 3583(g).

                                 2) On or about April 14, 2022, Ford Jr. committed another crime: Arizona Revised
                                    Statutes (A.R.S.) §13-3102A4 (Misconduct Involving Weapons/Prohibited
                                    Possessor), a Class 4 Felony. Violation outlined in Tucson Police Interim
                                    Complaint number 2204140001. A Grade B violation §7B1.1(a)(2). Per U.S.S.G.
                                    7B1.1, Note 1, violation based on the actual conduct, not a new criminal charge
                                    or conviction. Revocation is mandatory. 18 U.S.C. 3583(g).
     cc: AUSA: S. Clemens, PROB, USM
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                         3) On or about April 14, 2022, Ford Jr. committed another crime: Arizona Revised
                            Statutes (A.R.S.) §13-1201/§13-3601 (Endangerment/Domestic Violence) and
                            §13-2904A6/§13-3601(Disorderly Conduct/Domestic Violence with Deadly
                            Weapon), Class 6 Felonies. Violations outlined in Tucson Police Interim
                            Complaint number 2204140001. Grade B violations §7B1.1(a)(2). Per U.S.S.G.
                            7B1.1, Note 1, violation based on the actual conduct, not a new criminal charge
                            or conviction. Revocation is mandatory. 18 U.S.C. 3583(g).

        B            Standard Condition #10 which states, “You must not own, possess, or have access to a
                     firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
                     designed, or was modified for, the specific purpose of causing bodily injury or death to
                     another person such as nunchakus or tasers).”

                     On or about April 14, 2022, Ford Jr. was in possession of a firearm. Violation outlined in
                     Tucson Police Interim Complaint number 2204140001. A Grade C violation. §7B1.1(a)(3).
                     Revocation is mandatory. 18 U.S.C. 3583(g).


U.S. Probation Officer Recommendation and Justification

James Lamar Ford, Jr has violated the trust of the Court. A warrant is recommended (to be logged as a detainer)
to initiate revocation proceedings as James Lamar Ford, Jr is in the custody of another authority ( Pima County
Jail reference booking number 220414008), awaiting disposition on separate charges.

I declare under penalty of law that the foregoing is true and correct to the best of my knowledge:



                                                                4/18/2022
Joseph R. Moses                                                 Date
U.S. Probation Officer
Office: 520-224-6003
Cell: 520-310-9112



                                                                4/18/2022
Joy Zeitler                                                     Date
Supervisory U.S. Probation Officer
Office: 520-405-1269
Cell: 520-205-4578
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The Court Orders

 ☐     No Action
x☐     The Issuance of a Warrant
☐      The Issuance of a Summons
☐      Other


                                                       4/19/2022
The Honorable Cindy K. Jorgenson                     Date
Senior United States District Judge
